Case 9:14-cr-80227-DMM Document 1199 Entered on FLSD Docket 07/18/2016 Page 1 of 3




                                 UN ITED STA TES DISTR ICT CO UR T
                                 SO UTHERN D ISTR ICT O F FLOR ID A

                         Case N o.l4-80227-Cr-M lD D LEBRO O K S/BM > ON

  UN ITED STA TES OF A M ERICA ,

  V S.

   SAM UEL DAVID ALVARADO,

         Defendant.
                                     /

                              REPO RT AN D RECOM M EN D ATION

         THIS CAUSE isbefore the Courtby OrderofReference (DE 1192)from U.S.District
  Judge D onald M .M iddlebrooks for a recom m ended disposition of defense counsel's pending

   CJA Voucher. The Courtheld an evidentiary hearing on July 18,20l6.

         U pon consideration of the testim ony at the hearing,w hich m ay be found in the sealed

  transcript,thisCourtrecom m endsthe follow ing disposition.

                                   PROCEDURAL HISTORY

         This 39 defendantcrim inalcase began on Decem ber 8,2014,w ith the filing ofa crim inal

  complaintagainstonedefendant.(DE 1). Mr.Alvaradowasbroughtin byasealed superseding
  indictmenton February 5,2015.(DE 26).M r.Alvaradowasarrested in theEastern Districtof
  Arkansason October21,2015. (DE 1042). The Defendantplead guilty on M arch 18,2016.
  (DE 1150). Hisplea agreementcontemplated a mandatory minimum sentence of20 years
  imprisonment.(DE 1l52).Thecase'sactiveroleintheDistrictCourtendedwiththesentencing
  ofMr.Alvarado,the leaddefendant,on M ay 6,2016. (DE 1168).Allofthedefendantsplead
  guilty. M r.A lvarado w as sentenced to a totalof240 m onths in prison and 10 yearsofsupervised

  release(DE 1168).AttorneyArthurW allacerepresentedtheDefendantthroughout.
Case 9:14-cr-80227-DMM Document 1199 Entered on FLSD Docket 07/18/2016 Page 2 of 3




           On M ay l4,2016,M r.W allacetim ely filed anotice ofappealon the Defendant'sbehalf

   (DE 1170). On M ay 15,2016,Mr.W allacesubmittedaCriminalJusticeAct(CJA)voucherfor
  paymentin theam ountof$39,761.74,which isin excessofthe $10,000.00 cap.
                                       FIN D IN G S O F FA CT

           This case involved som e 11,000 intercepted telephone calls of w hich som e 7,000 were

   pertinent. M r. A lvarado w as involved in virtually all of those phone calls. H e had direct

   dealings w ith 30 of the other 38 defendants. D iscovery w as found in som e 22 com pact disc's

   plusa 2 terrabytehard drive containing video surveillance from a pole camera. Thus,discovery

   was volum inous and required substantialattorney tim e to both review recordsand to conferw ith

   the D efendant.

           M r.A lvarado w aspretrialdetained firstatthe Palm Beach County Jailon G un Club Road

   in W est Palm Beach and then later at the FederalD etention Center in downtow n M iam i. This

  m ove was m ade to expedite the review of discovery. M r.W allace's office is approxim ately an

   hour and half from the Palm Beach County Jail and tw o hours from the Federal Detention

   Center. Conferring and reviewing discovery w ith the D efendantthus required substantialtravel

  tim e.

           The plea agreem entin this case called fora m inim um 20 year sentence ofim prisomnent.

  A tthe tim e of the plea,every other defendant in the case had been sentenced,and the average

   sentence of im prisonm ent of those 37 defendants was 96.5 m onths,approxim ately 40% of the

  m inim um sentence M r.A lvarado w as agreeing to in his plea agreem ent. Thus, a substantial

  am ountofattorney tim e w as a necessity to explain to both the D efendantand his very supportive

  fam ily thatthis plea agreem entwasin facta good resultfrom the D efendant's view point.
Case 9:14-cr-80227-DMM Document 1199 Entered on FLSD Docket 07/18/2016 Page 3 of 3




         M r.W allace was quite candid in the sealed transcriptaboutthe factors involved in the

  representation in this case,including the difficulties caused by the fact that M r.A lvarado, the

  lead defendant,wasthelastdefendantto have hisguiltand sentenceresolved.

                                      RECOM M EN D ATION

         Based on the foregoing, the Court respectfully RECOM M ENDS that M r.W allaee's

  voucher be paid in full. Although other CJA counsel submitted vouchers for signifcantly

  smallerdollaramountswith morecourttime,Mr.W allacejustifiablyhadto spend significantly
  m ore time reviewing discovery,which was extensive and virtually allinvolved the Defendant,

  and in plea negotiations,which called foran agreem entto a significantly heavier sentencethan

  thevastmajorityoftheotherdefendantsreceived.
                                N O TICE OF RIG H T TO O BJECT

         A party shallserveandfilewritten objections,ifany,tothisRepol'tandRecommendation
  with U .S.DistrictJudge Donald M .M iddlebrookswithin 14 days afterbeing served acopy. 28

  U.S.C.j636(b)(1)(C). Failuretot5letimely objectionsmaylimitthe scopeofappellatereview
  offadualfindingscontained therein.U.S.v.W arren,687 F.2d 347,348 (11th Cir.1982),cert.
  denied,460U.S.1087(1983).

         D ON E and REC OM M EN D ED in Cham bers atW estPalm Beach in the Southern D istrict

  ofFlorida,this I6 dayofJuly,2016.


                                                     DA V E LEE B M N N ON
                                                     U .S.M A G ISTM TE JU D GE

  Copiesto:
  U .S.D istrictJudge Donald M .M iddlebrooks
  A rthurW allace,Esq.
